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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


  LEGEND’S CREEK HOMEOWNERS                           )
  ASSOCIATION, INC.,                                  )
                                                      )
                                Plaintiff,            )
                                                      )
                         v.                           )      Case No. 1:18-cv-02782-TWP-MPB
                                                      )
  THE TRAVELERS INDEMNITY COMPANY                     )
  OF AMERICA,                                         )
                                                      )
                                Defendant.            )




                                AMENDED NOTICE OF APPEAL



         Notice is hereby given that Legend’s Creek Homeowners Association, Inc., Plaintiff in

  the above-named case, hereby appeals to the United States Court of Appeals for the Seventh

  Circuit from the Entry On Defendant’s Motion for Summary Judgment and Appeal of the

  Magistrate Judge’s Decision and related Final Judgment Pursuant to Fed. R. Civ. Pro. 58, entered

  in this action on the sixth day of October, 2020.

         Notice is hereby given that Legend’s Creek Homeowners Association, Inc., Plaintiff in

  the above-named case, hereby appeals to the United States Court of Appeals for the Seventh

  Circuit from the Entry On Plaintiff's Motion To Amend Or Alter Judgment entered in this action

  on January 29, 2021.

         Notice is hereby given that Legend’s Creek Homeowners Association, Inc., Plaintiff in

  the above-named case, hereby appeals to the United States Court of Appeals for the Seventh
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  Circuit from the Amended Entry On Defendant's Motion For Summary Judgment And Appeal

  Of The Magistrate Judge's Decision, entered in this action on January 29, 2021.




                                           Respectfully submitted,


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                            FEDERAL CERTIFICATE OF SERVICE

         I hereby certify that on February 12, 2021, a copy of the foregoing was filed

  electronically. Notice of this filing will be sent to all counsel of record by operation of the

  Court’s electronic filing system. Parties may access the filing through the Court’s system.



                                                              /s/ David E. Miller
                                                              David Miller




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